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     Fresno, California 93721
 3   Telephone: (559) 237-6000
 4   Attorney for Defendant, ISRAEL CAVAZOS
 5
 6                  IN THE UNITED STATES DISTRICT COURT FOR THE
 7                            EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,   )                CASE NO. 1:07-CR-00192-AWI
                                 )
10        Plaintiff,             )
                                 )                STIPULATION TO MODIFY
11       v.                      )                CONDITIONS OF PRETRIAL RELEASE
                                 )
12   ISRAEL CAVAZOS,             )
                                 )
13        Defendant.             )
     ____________________________)
14
           The parties hereto, by and through their respective attorneys, stipulate and
15
     agree with the agreement of the Pretrial Services Officer, that the conditions of
16
     release set by the court for defendant Israel Cavazos in the instant action be
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     modified to delete the condition that Mr. Cavazos participate in substance abuse
18
     counseling.
19
           All other terms and conditions of Mr. Cavazos’ pretrial release will remain in
20
     full force and effect.
21
22   DATED: April 17, 2009                /s/ Kathleen Servatius      __
                                          KAREN ESCOBAR
23                                        Assistant United States Attorney
                                          This was agreed to by Ms. Escobar
24                                        via telephone on April 16, 2009
25
     DATED: April 17, 2009                /s/ Roger K. Litman    __
26                                        ROGER K. LITMAN
                                          Attorney for Defendant
27                                        ISRAEL CAVAZOS
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                                              1
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 1   SO ORDERED:
 2
     DATED:   April 20, 2009             /s/ Gary S. Austin
 3                                     GARY S. AUSTIN
                                       U.S. MAGISTRATE JUDGE
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